                    IN THE UNITED STATES DISTRICT COURT FOR

                            THE EASTERN DISTRICT OF WISCONSIN


HUPY & ABRAHAM, S.C.,

               Plaintiff,
                                                              Case No



QUINTESS ALLC dlbla
QUINTESSA MARKETING,

               Defendant.


                                      CIVI    COMPLAINT


       The Plaintiff, Hupy     & Abraham, S.C., acting by   and through their attorneys, Hupy and

Abraham, S.C., by Attorney Todd R. Korb, file this Original Complaint against the Defendant,

Quintessa LLC, and alleges and shows to the Court as follows:

                                  JURISDICTION AND VENUE

       1.       The Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. $ 1332 as this action seeks monetary damages resulting from the Defendant's actions in

an amount exceeding seventy-five thousand dollars ($75,000.00), and there is complete diversity

of citizenship between the Plaintiff and the Defendant.

       2.      Venue is present in this District pursuant to 28 U.S.C. $ 1391(b)(2) as the judicial

district in which the Plaintiff resides and a substantial part of the events or omissions giving rise

to the claims occurred. Moreover, it is the location to which the contracted for "bulk marketing"

was directed and retained "plaintiffs" resided.




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                                            PARTIES

       3.      The Plaintiff, Hupy   &   Abraham,S.C., is a corporation, organized and existing

under the laws of Wisconsin, with its principal place of business located at 111 East Kilbourn

Avenue, Suite 1100, Milwaukee, Wisconsin,         Zip Code    53202; that the registered agent in

Wisconsin for the Plaintiff is Jason F. Abraham, also located at 1 I 1 East Kilbourn Avenue, Suite

1100, Milwaukee, Wisconsin,Zip Code 53202; that the Plaintiff operates as a personal injury

law firm within the States of Wisconsin, Illinois, and Iowa; and that the Plaintiff does not do

business in Oklahoma.

       4.      The Defendant, Quintessa LLC, is a limited liability company, organized and

existing under the laws of Oklahoma, with its principal place of business located at 1900 NW

Expressway, Suite 1600, Oklahoma City, Oklahoma,Zip Code 73118; that upon information and

belief the Registered Agent in Oklahoma for the Defendant is Lauren McNeil, located at 1900

NW Expressway, Suite 1600, Oklahoma City, Oklahoma, Zip Code 73118; that the Defendant

also does business as Quintessa Marketing; that the Defendant provides "bulk marketing"

services for law firms throughout the United States, including Wisconsin, Illinois, and lowa; that

the Defendant advertises itself as a "full service platform" in marketing for, screening, qualifying

and signing "plaintiffs" involved     in motor vehicle     collisions   for   representation; that the

Defendant is a named defendant herein pursuant to the theory of vicarious liability, including the

doctrine of Respondeat Superior,     in that it is liable for the actions of its   employees, agents,

servants, representatives, and/or volunteers, herein   Mike Walker (hereinafter "Mr. Walker") and

Lauren Mingee (hereinafter "Ms. Mingee"), while in the course and scope of their employment

or agency; and that Mr. Walker and Ms. Mingee at all relevant times were acting in the course

and scope of their employment or agency with the Defendant.




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                                      FACTUAL BACKGROUND

       5.       On or about January 7,2021, the Plaintiff entered into a trial contract (hereinafter

"trial contract") with the Defendant, where the Plaintiff made a payment of twelve          thousand

dollars ($12,000.00) in exchange for the Defendant's'obulk marketing" services to market for,

screen, qualify, and sign-up   "plaintiffs" involved in motor vehicle accidents; and that the subject

contract is attached herein as Exhibit   1.


       6.       In this trial contract, the parties agreed that the Plaintiff could turn down       or

disengage a    "plaintiff if they: (1)   were cited at fault; (2) had property damage under one

thousand five hundred dollars ($1,500.00); (3) were involved       in a collision without insurance

coverage; and (4) had no medical treatment within fourteen (14) days of the injury.

       7,       Upon entering the trial contract, the Plaintiff supplied the Defendant with its

retainer contracts so that "plaintiffs" in Wisconsin, Illinois, and Iowa could be retained by the

Defendant using the Plaintifls retainers.

       8.       During the month of January 2021, the Defendant supplied to the Plaintiff thirty-

nine (39) retained "plaintiffs"; and that as of the filing of this Complaint the retained "plaintiffs"

the Plaintiff withdrew from representing approximately twenty-six (26) "plaintiffs".

       9.       During the course of this trial contract, it came to Plaintifls attention that it had

received a few retainers where the "plaintiffs" did not meet one or more of the qualifications

enumerated in the   trial contract.

        10.     On January 25,202I, the Plaintiff, by its Director of Marketing Jill Wellskopf

(hereinafter   "Ms. Wellskopf'), reached out to the Defendant regarding the               disqualified

"plaintiffs" and asked the Defendant to review its screening criteria to ensure the "plaintiffs"

retained qualified pursuant to the trial contract's tetms.




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          1   1.   Despite this, the Defendant refunded             all but approximately four (4) retained

"plaintiff'    charges to the   Plaintiff   s   pre-funded account, resulting in the Plaintiff s account being

deducted six thousand four hundred dollars ($6,400.00).

          12.      Additionally, it came to the Plaintiff s attention that the Defendant was retaining

"plaintiffs" that were expecting the Plaintiff                 to   provide them with medical        treatment.

Accordingly, on January 26,202I, the Plaintiff, by Ms. Wellskopf, informed that Defendant that

the Plaintiff does not set up medical treatment for "plaintiffs"; therefore, when an allegedly

injured   "plaintiff is presented to the Plaintiff this "plaintiff is encouraged to seek treatment           on

their own and without direction from the Plaintiff. This is done to allow the "plaintiff' to                 be


comfortable with their treatment and receive the treatment which they desire.

          13.      Based off the experience with the trial contract, the Plaintiff expressed interest in

entering a new contract with the Defendant on or around February 1,202L

          14.      During the contract negotiations, on or around February              l,   2021, the Plaintiff

inquired as to the monthly rate of signed retainers it could expect from the Defendant's services

in Wisconsin, Illinois, and Iowa.

          15.      In response the Defendant, by its Director of Business Operations Mr. Walker,

asserted      to the Plaintiff that per month "150 to 200 fqualified retainers were] not out of the

question."

          16.      Later on February 3,202I, the Plaintiff, by Ms. Wellskopf, asked the Defendant             if
                                  o'3
it had the ability to provide           to 4 [retainers]" per day or l20leads per month.

          I7.      The Defendant, by Mr. Walker, responded that "we have the capability to provide

100+ fsigned retainers per month] with proper funding."




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        18.       On February 3, 2021, the Plaintiff and the Defendant entered into a            second

                      o'the
contract (hereinafter       contract"); and that the contract is attached herein as Exhibit 2.

        19.       In the contract, the Defendant agreed to provide its "bulk marketing" services for

the Plaintiff by marketing for potential "plaintiffs" for the PlaintifPs business; that              the

Defendant's services also included screening the potential "plaintiffs" to ensure they do not meet

criteria that permitted the Plaintiff to turn down or disengage; and that once the Defendant

determined a    "plaintiff' qualified, the Plaintiff gave the Defendant limited authority to have the

qualifying "plaintiff' sign the Plaintiff   s retainer agreement   for representation.

        20.       Pursuant   to the contract, the approved reason for the parlies to      disengage or

turndown a "plaintiff ' was: (1) if the "plaintiff ' was cited as the at fault; (2) the subject collision

had property damage under one thousand five hundred dollars ($1,500.00); (3) that there was no

insurance coverage for the collision; (4) that the      "plaintiff' did not obtain medical    treatment

within fourteen days of the injury; and (5) that the "plaintiff'was not injured during the subject

collision.

        21.       Additionally in the contract, the Defendant asserts that it may limit turndowns to
*35yo" of all delivered motor vehicle accident leads but that the Defendant would not reduce

below this cap.

        22. In exchange for the Defendant's "bulk marketing" services, the Plaintiff was
required to pre-fund its marketing account with one hundred thousand dollars ($100,000.00); and

that out of this pre-funded account the Plaintiff also agreed to pay the Defendant one thousand

six hundred dollars ($1,600.00) for each qualifying motor vehicle accident retainer and four

thousand     five hundred dollars ($4,500.00) for each qualifying commercial motor               vehicle

accident retainer.




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       23.        Both February 3,2021 and January 7,2021 contracts were drafted by                           the

Defendant; and that at no point during the two contracts did the Plaintiff travel to Oklahoma for

purposes of negotiating or drafting these contracts.

       24.        On February 3,2021, the Plaintiff emailed the executed contract to the Defendant

and pre-funded its marketing account with the Defendant with one hundred thousand dollars

($ 1oo,ooo.0o).


        25.       At all relevant times hereto, the Defendant was in possession of unearned funds

within the Plaintiff   s pre-funded         marketing account.

        26.       After entering into the contract, the Defendant began engaging "plaintiffs"                 and

having them execute the Plaintiffs retainer agreement; that the Defendant began tracking

individuals it made contact with on behalf of the Plaintiff in an online portal; that the purpose of

this portal was to offer real-time communication of the "plaintiff s" name and other basic contact

and incident information; and that the             Plaintiff was only granted   access   to use: (1) the disengage

button; and(2) the note field.

        27.       During the month of February 2021, the Defendant is estimated to have retained

approximately forty-tw o $2) all e gedly qualifying "plaintiffs ".

        28.       During the month of March 2021,, the Defendant is estimated to have retained

approximately fi fty-eight        (5   8) allegedly qualifying "plaintiff3".

        29.       During the month of April 2021, the Defendant is estimated to have retained

approximately forty-    fo   ur   (4   4) alle gedly qualifying "plaintiffs".

        30.       As of the filing of this Complaint, during the month of May, the Defendant                    is

estimated to have retained two (2) allegedly qualifying "plaintiffs".




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       3    1.   However, it became apparent to the Plaintiff that the Defendant was not fulfilling

its contractual duties of screening "plaintiffs" to confirm they met the minimum criteria

enumerated in the contract before signing them to   Plaintiff   s contingency fee contract.


        32.      For example, on or around March 26, 2021, the Defendant retained on the

Plaintiffs behalf a "plaintiff' who had already settled their motor vehicle claim with            the


insurance company.

        33.      Additionally, the Defendant mislabeled "plaintiffs" as qualifying commercial

motor vehicle accidents, charging the Plaintiff for the incorrect rate of four thousand five

hundred dollars ($4,500.00) for each incorrectly retained   "plaintiff' despite these "plaintiffs" not

being involved in commercial collisions.

        34.      As a result, the Plaintiff repeatedly and diligently requested the Defendant to

relabel these incorrectly classified commercial "plaintiffs" and to adjust the fee charged to the

Plaintiff   s account   accordingly.

        35.      From February 3,2021to May 4,202I, the Plaintiff identified that approximately

six (6) retained "plaintiffs" were mislabeled as being involved in commercial collisions, resulting

in overcharges of seventeen thousand four hundred dollars ($17,400.00) against the Plaintifls

account; and that as        of the filing of this Complaint two thousand nine hundred dollars
($2,900.00) has not been reversed to the Plaintiff s account.

        36.       Similarly, the Defendant also failed to honor the contract's disengagement terms,

by which the Defendant was required to credit back the pre-funded money to the Plaintiffs

account upon timely notice that the retained      "plaintiff' did not qualify within "ftve to seven

business days."




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        37.       For example, on March 31,202I, the Plaintiff brought to the Defendant's
                                                             o'plaintiff' within 168-hour timeframe
attention that   it   had filed a disengagement notice for a

with a reason that there was no insurance and no treatment within fourteen (14) days after

accident. The Defendant, via its Founder and CEO Ms. Mingee, stated these were not valid

disengagement reasons, contrary to both of these reasons being in the contract.

       38.        Despite the Plaintiff s good faith and diligent efforts in reviewing the "plaintiffs"

retained by the Defendant,       it   became quickly obvious that the 168-hour review period to turn

down or disengage retained "plaintiffs" was not workable'

        39.       On March 29,2021, the Plaintiff, by Ms. Wellskopf, told the Defendant that this

timeline was not feasible because: (1) police reports are usually not available within 168-hours;

(2) insurance coverage cannot be accurately determined within 168-hours; and (3) that the

"plaintiff s"   status of treatment is   difficult to determine because the Defendant was still engaging

with the client who often lament to the Plaintiff that they are confused whether the Defendant or

the Plaintiff represent them. Accordingly, Ms. Wellskopf asked              if   the Defendant would   be


interested in amending the terms of the contract to permit for a thirty (30) day disengagement

time period.

        40.       That during this email, Ms. Wellskopf indicated that she was aware of twenty-five

(25) "plaintiffs" that the Plaintiff had paid for out of its account but, subsequently, the Plaintiff

withdrew representation once documents, such as police reports, came                   to the Plaintiffs

possession and demonstrated that the        "plaintiffs" were disqualified pursuant to the contract.

        41.       Again, on April I,202I, the Plaintiff, by its Vice President, Attorney Jason F.

Abraham (hereinafter        "Mr. Abraham"), indicated to the Defendant that the 168-hour deadline




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was unworkable and inquired     if the Defendant would      be interested in altering the terms of the

contract.

        42,     In response to both aforementioned requests to amend the terms of the contract,

the Defendant declined to amend the disengagement timeframe'

         43.    On April 1,2021, the Plaintiff provided the Defendant with thirty (30) day notice

that it was not looking to renew the contract, pursuant to the contract's terms.

         44.    That on the same day, the Defendant, by Ms. Mingee, confirmed receipt of the

Plaintiffls thirty (30) day non-renewal notice via email.

         45.    During the course of this notice, the Plaintiff again asked the Defendant to: (1)

review and credit to the Plaintiff s account twenty-nine (29) cases where unqualified "plaintiffs"

were retained but disengaged after the 168-hour deadline due to difficulty in gathering necessary

information to discern whether or not these "plaintiffs" qualified for representation; and (2)

refund the remaining unspent funds in the Plaintiff s account.       At this time approximately    one


hundred and one thousand and four hundred dollars ($101,400.00) was the amount of "unspent"

funds in the Plaintiff s account.

         46.    On the same day, the Defendant again refused to credit any retainers disengaged

or turned down outside the 168-hour window. Additionally, the Defendant said it would not be

refunding any of the remaining funds in the Plaintiff s account.

         47.    Additionally, the Defendant, by Ms. Mingee, told the Plaintiff that contrary to the

contract's provisions, no treatment within fourteen (14) days of the accident was not a valid

reason for retainer rejection, because   it was the Plaintiff s responsibility to provide treatment for

its clients.




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        48.     At or around the   same time, the Defendant, by Ms. Mingee, also admitted to the

Plaintiff that this contract was better suited for law firms that manufacture treatment for their

"plaintiffs."

        49. At no time during the trial contract or the contract was it stipulated that the
Plaintiff agreed to obtain medical treatment on behalf of the "plaintiffs"; and that it is Plaintiff   s


interpretation of the contract that the qualifying factor of no treatment within fourteen (14) days

does not require the Plaintiff to press the   "plaintiff' to   seek treatment   if   retained within the

fourteen (1a) day window, rather it was incumbent upon the      "plaintiff'to   seek treatment on their


own within the fourteen (1a) day window.

        50. After providing notice of intent not to renew the contract,                  the Defendant

consistently failed to timely respond to the Plaintiff s corespondence or disengagement notices.

        51.      The Plaintiff, by Mr. Abraham, sent two emails dated April 1, 2021 and April 8,

202l,to Ms. Mingee regarding cases pending disengagement review by the Defendant.

        52.      When Ms. Mingee responded on April 9,2021, she said that she was unable to

provide information about the twenty-nine (29) pending cases at that time and would take

additional time to review these cases.

        53.      On the same day Ms. Mingee also indicated that the Defendant would not credit

any past retainers that were outside of the 168-hour window due to the     Plaintiff not renewing the

contract; and that she also asserted that the Defendant's disengagement rates were thirty percent

(30%) of the retained "plaintiffs", which was a different rate than what was quoted in the

contract.

         54.     Similarly, on April 2, 202I, the Plaintiff, by Ms. Wellskopf, sent              to   the

Defendant's agent Mr. Walker an email requesting status updates on five (5) disengagements that




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had been submitted by the Plaintiff in the prior two (2) weeks but the Plaintiff still had not

received credits returned to their account within the five (5)            to seven (7)   business days as

prescribed by the contract. In response, Ms. Mingee told Ms. Wellskopf that she would have to

wait at least another week for her to look into the Plaintiff s account without guarantee that the

credits would be returned to the Plaintiff s account.

        55.        After the Plaintiff indicated its intention to not renew the contract, it became clear

that the Defendant significantly decreased the number of retainers provided to the Plaintiff,

despite Ms. Mingee's prior declaration              to keep supplying retainers until the    account was

depleted.

        56.        For example, the Plaintiff did not receive a single retainer from the Defendant's

service on:   April 1 through April 5, 2021; April 15,2021; April 17,2021; April 21,2021; April

30 through May      2,2021.

        57.        Likewise, the quality of "plaintiffs" referred to the Plaintiff also decreased after

the Plaintiff gave notice to not renew the contract.

        58.        For example, Ms. Wellskopf on April 7,2021, alerted the Defendant that a
                                    o'at
"plaintiff' admitted     she was           fault". The Defendant responded that it would only credit back

the fee for this   "plaintiff if   the Plaintiff supplied a police report to the Defendant, which was not

a requirement   previously enumerated in the subject contract'

        59.        Likewise, on or around April 13, 2021, the Defendant sent to the Plaintiff           a


"plaintiff'who had told the Plaintiff that they did not even want attorney representation for their

accident and was confused as to the relationship between the Defendant and the Plaintiff.




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       60.     Similarly, on April 18,2021, the Defendant submitted to the Plaintiff a "plaintiff'

who had backed out of a driveway into a parked car and asserted that this met the criteria listed

within the contract.

       6L      As of May 4,2021, the Plaintiff s contract ended; however, there are fifty-four

thousand three hundred dollars ($54,300.00) remaining in the Plaintiff s account; and that of the

filing of this lawsuit these funds are still in the Defendant's possession.

       62.     As of May 5, 202I, the Plaintiff by Mr, Abraham and Ms, Wellskopf both made

demands via email to the Defendant to immediately refund the balance in the         Plaintiff   s account


because the contract   is silent as to refunding accounts after the thirty (30) day notice therefore

refunds should have been given at the end of the contract period; and that the subject emails

attached herein as Exhibit 3.

        63.    At no point during   these two contracts did the   Plaintiff or its agents ever travel to

Oklahoma; that the Plaintiff did not retain any "plaintiffs" from Oklahoma; and that the

Defendant solicited the Plaintiff by its agents in Wisconsin.

        64.    As of May 4,2021, the Plaintiff conducted a thorough and exhaustive review of

the one hundred forty-six (146) "plaintiffs" retained by Defendant on the Plaintifls behalf from

February 3,202I to May 4,2021by the Defendant.

        65.     That as of May 4,2021, approximately six (6) "plaintiffs" were determined by the

Plaintiff to not be qualified under the contract's terms due to lack of insurance. That of these

unqualified "plaintiffs" the Defendant refused       to credit back to the Plaintiffls     account for

approximately two (2) of these "plaintiffs" resulting in a loss of approximately three thousand

two hundred dollars ($3,200.00) to the Plaintiff.




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        66.       That as of May 4,202I, approximately one (1) "plaintiff'were determined by the

Plaintiff to not be qualified under the contract's terms due to property damage being under one

thousand five hundred dollars ($1,500.00). That of these unqualified "plaintiffs" the Defendant

refused to credit back to the   Plaintiff   s account   for zero (0) of these "plaintiffs" resulting in a loss

of zero dollars ($0.00; to the Plaintiff.

        67    .   That as of May 4, 202I , approximately fourteen ( 1a) "plaintiffs" were determined

by the Plaintiff to not be qualified under the contract's terms due to lack of treatment within

fourteen (14) days after the accident. That of these unqualified "plaintiffs" the Defendant refused

to credit back to the Plaintiff s account for approximately ten (10) of these "plaintiffs" resulting

in a loss of approximately eighteen thousand and nine hundred dollars ($18,900.00) to the

Plaintiff.

        68.       That as of May 4,202I, approximately thirteen (13) "plaintiffs" were determined

by the Plaintiff to not be qualified under the contract's terms due to the "plaintiff' being labeled

at fault. That of these unqualified "plaintiffs" the Defendant refused to credit back to                   the


Plaintiffs account for approximately four (4) of these "plaintiffs" resulting in a loss of

approximately fifteen thousand and one hundred dollars ($15,100.00) to the Plaintiff.

         69,      That as of May 4,202t, approximately nine (9) "plaintiffs" were determined by

the Plaintiff to not be qualified under the contract's terms due to no reported injuries. That of

these unqualified    "plaintiffs" the Defendant refused to credit back to the Plaintiff         s account for

approximately one (1) of these "plaintiffs" resulting in a loss of approximately three thousand

two hundred dollars ($3,200.00) to the Plaintiff.

         70.      That as   of May 4,       2027,   of the   approximately thirty-four (34) commercial

retainers the Plaintiff received from the Defendant's "bulk marketing" services approximately




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six (6) were improperly labeled as commercial when in fact there was no commercial motor

vehicle involvement. This resulted in the Plaintiff being charged a total of approximately twenty-

seven thousand    five hundred dollars ($27,500.00) for improperly labeled retainers, with            the


Defendant refusing to credit back one (1) of these retainers resulting in a loss of two thousand

nine hundred dollars ($2,900.00) to the Plaintiff.

        7I.     That as of May 4,2021, approximately two (2) "plaintiffs" were determined by

the plaintiff to not qualifu under the contract's terms because the "plaintiffs" had already settled

their underlying tort claim prior to communicating with the Defendant. That of these unqualified

.,plaintiffs" the Defendant refused to credit back to the Plaintiff s account for zero (0) of these

,'plaintiffs" resulting in a loss of zero dollars ($0.00) to the Plaintiff,

        72.     That as of May 4,2021, approximately three (3) "plaintiffs" wete determined by

the plaintiff to not qualify under the contract's terms because the "plaintiffs" resided outside of

Wisconsin, Illinois, and Iowa. That of these unqualified "plaintiffs" the Defendant refused to

credit back to the plaintiff s account for zero (0) of these "plaintiffs" resulting in a loss of zero

dollars ($0.00; to the Plaintiff.

        73.     That as of May 4,202I, approximately twelve (12) "pIaintiffs" wete determined

by the Plaintiff to not qualify under the contract's terms because the "plaintiffs" did not respond

to the Plaintiffs correspondence after the Defendant's initial                engagement   of the retainer

relationship. That of these unqualified "plaintiffs" the Defendant refused to credit back to the

plaintiffs account for approximately two (2) of these "plaintiffs" resulting in a loss of

approximately three thousand two hundred dollars ($3,200.00) to the Plaintiff.

         74.     That as of May 4,2021, approximately eleven (11) "plaintiffs" informed the

 plaintiff that they were not interested in representation by the Plaintiff despite the Defendant




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submitting the "plaintiffs"' information to the Plaintiff. That of these disinterested "plaintiffs"

the Defendant refused to credit back to the Plaintiff s account for approximately four (4) of these

"plaintiffs" resulting   in a loss of   approximately eight thousand dollars ($8,000.00)          to   the


Plaintiff.

         75.     That as of May 4,2021, the Plaintiff had alerted the Defendantthal approximately

eleven (11) "plaintiffs" did not qualify pursuant       to the terms of the contract, but that the

Defendant did not credit the Plaintiff s account within the five (5) to seven (7) days pursuant to

the contract.

         76.     That as of May 4,2021, the Plaintiff believes that     it   has paid the Defendant for

approximately twenty-seven (27) "plaintiffs" who for the reasons mentioned above did not

qualify pursuant to the terms of the contract. This has resulted in a loss of approximately fifty-

four thousand five hundred dollars ($54,500) to the Plaintiff.

FIRST CAUSE OF ACTION.VIOLATION OF THE WISCONSIN DECEPTIVE TRADE
                    PRACTICES ACT, WIS. STAT. $ 100.18

         77.     The Plaintiff fully incorporates paragraphs I-76 as if fully set forth herein.

         78.     That in attempting to advertise, market, and sell the "bulk marketing" services,

the Defendant, by and through its agent Mr. Walker, made an express representation to the

Plaintiff that it could provide "150 to 200" qualifying "plaintiffs" within Wisconsin, Illinois, and

Iowa per month. Likewise, the Defendant, by and through its agent Mr. Walker, also said to the

Plaintiff that it would easily provideool00+" retainers per month with proper funding.

         79.      That the Defendant did not honor this express representation, because during this

contract's three (3) month term, the Defendant retained on the Plaintiff s behalf approximately

one hundred forty-six (146) "plaintiffs" but only approximately forty-six (aQ qualifying




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"plaintiffs" were actually retained despite the Plaintifls account to have proper funding at all

relevant times.

         80.      That the Plaintiff would not have entered into the contract     if the Defendant   had


honestly enumerated the monthly rate          of qualifying "plaintiffs" retained within    Wisconsin,

Illinois, and Iowa as this would have been less than the rate represented by Mr. Walker to the

Plaintiff.

         81.      That this express representation was false, deceptive, andlor misleading; and

therefore done     in violation of Wis. Stat. $    100.18, thereby causing the Plaintiffs damages

totaling one hundred thousand dollars ($100,000.00).

             SECOND CAUSE OF ACTION.BREACH OF CONTRACT, WISCONSIN

         82.      The Plaintiff fully incorporates paragraphs 1-81 as if fully set forth herein.

         83.      That the Plaintiff entered into a contract on February 3,2021for "bulk marketing"

services with the Defendant; and that said contract stated that the Defendant would screen

potential "plaintiffs" pursuant to the qualifying factors enumerated within the contract.

         84.      That the Plaintiff at all times fully performed all of its conditions and obligations

under the contract.

         85.      That the Defendant materially breached said contract by repeatedly failing to

screen   "plaintiffs" to ensure their qualifications prior to retaining said "plaintiffs" on behalf of

the Plaintiff.

         86.      That the Defendant was repeatedly afforded multiple opportunities to cure its

material breach of contract by the Plaintiff.

         87   .   As a result of the Defendant's material breach, the Plaintiff incurred damages and

believes that the current amount is approximately one hundred thousand dollars ($100,000.00).




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            THIRD CAUSE OF ACTION-BREACH OF CONTRACT, WISCONSIN

       88.      The Plaintiff fully incorporates paragraphs 1-89 as   if fully   set forth herein.


       89.      That the Plaintiff entered into a contract on February 3,202I for "bulk marketing"

services with the Defendant; and that under said contract the Defendant was required to timely

provide disengagement credits for unqualified "plaintiffs" reported by the Plaintiff.

       90.      That the Plaintiff at all times fully performed all of its conditions and obligations

under the contract.

       9L       That the Defendant was and still remains in material breach of contract for failure

to timely provide disengagement credits for approximately eleven (11) unqualified "plaintiffs"

within the five (5) to seven (7) days pursuant to the contract.

        92.      That the Defendant was afforded multiple opportunities to cure its material

breach of contract but has not cured its material breach in total.

        93.     As a result of the Defendant's material breach, the Plaintiff incurred damages and

believes that the current amount is approximately one hundred thousand dollars ($100,000.00).

   FOURTH CAUSE OF ACTION.BREACH OF IMPLIED DUTY OF GOOD FAITH,
                              WISCONSIN

        94.     The Plaintiff fully incorporates paragraphs 1-93 as   if fully   set forth herein.


        95.     Under Wisconsin law, a contract requires that each party act in good faith towards

the other party and deal fairly with that party when performing the expressed terms of the

contract.

        96.      In this case, the Plaintiff claims the Defendant had an obligation to use good faith

when performing the following contractual term of screening prospective "plaintiffs" prior to

retaining them on behalf of the Plaintiff.




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         97.              As to this term, the Plaintiff claims that the Defendant breached the contract's

good faith obligation by failing to fully screen the prospective "plaintiffs" resulting in numerous

"plaintiffs" having to be disengaged.

         gg.              That the Defendant's breach resulted in damages to the Plaintiff totaling

approximately one hundred thousand dollars ($ 1 0 0,000' 00).

       FIFTH CAUSE OF ACTION-BREACH OF IMPLIED DUTY OF GOOD FAITH,
                                  WISCONSIN

          100.            The Plaintiff fully incorporates paragraphs 1-99 as if fully set forth herein.

          1   0   1   .   Under Wisconsin law, a contract requires that each pafiy act in good faith towards

the other party and deal fairly with that parly when performing the expressed terms of the

contract.

          I02.            In this case, the Plaintiff claims the Defendant had an obligation to use good faith

when performing the following contractual term                     of returning funds of timely disengaged

"plaintiffs" pursuant to the qualifying factors in the contract.

          103. As to this term, the Plaintiff claims that the Defendant                 breached the contract's

good faith obligation by failing to timely credit charges to the Plaintiff s account when notified

that   a"plaintiff' was not qualifying pursuant to the contract.

          105. That the Defendant's breach                   resulted   in   damages   to the Plaintiff totaling
approximately one hundred thousand dollars ($100,000.00).

       SIXTH CAUSE OF ACTION.BREACH OF IMPLIED DUTY OF GOOD FAITHO
                                  WISCONSIN

          106. The Plaintiff fully incorporates            paragraphs 1-105 as if fully set forth herein.




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        107.       Under Wisconsin law, a contract requires that each party act in good faith towards

the other party and deal fairly with that party when performing the expressed terms of the

contract.

        i08.       In this case, the Plaintiff claims the Defendant had an obligation to use good faith

when performing the following contractual term of returning funds of marketing for, screening,

qualifying, and signing up "plaintiffs" within the life of the contract.

        109. As to this term, the Plaintiff       claims that the Defendant breached the contract's

good faith obligation by failing to provide "plaintiffs" after receiving the Plaintiff s notice to not

renew the contract on     April 1,202I.

        110. That the Defendant's breach resulted in                  damages          to the Plaintiff totaling
approximately one hundred thousand dollars ($ 1 00, 000. 00).

       SEVENTH CAUSE OF ACTION-INTENTIONAL MISREPRESENTATION,
                             WISCONSIN

        111   .    The Plaintiff fully incorporates paragraphs   1   -1   1   0 as if fully set forth herein.

        112.       The Defendant made the representation of fact, by and through its agent Mr.

Walker, that it could provide "150 to 200" qualifying "plaintiffs" per month within Wisconsin,

Illinois, and Iowa. Likewise, the Defendant, by and through its agent Mr. Walker, also said to the

Plaintiff that it would easily provide "100+" retainers fper month] with proper funding.

        113. That said representation       was untrue, because during the three (3) month life of the

subject contract the Plaintiff only received approximately one hundred forty-six (146) retainers

but only forty-six (46) of these retainers qualified pursuant to the contract.

            lI4.   The Defendant knew said representation was untrue or made said representation

recklessly without caring whether it was true or false.




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        115.      The Defendant made the representation with intent to deceive and induce the

Plaintiff to enter into the contract upon the representation of qualifying retainer amounts, all to

the Plaintiff s damage.

        116.      The Plaintiff believed such representation to be true and justifiably relied on it to

its   damage; and      that said damages total approximately one hundred thousand                         dollars

($loo,ooo.oo).

        lI7.      That as the misrepresentation relates to a material part of the contract, the Plaintiff

also asks the Court to rescind the contract pursuant to Mueller v. Harry Kaufrnan Motorcars,

Inc.,2015 WI App. 8, fl 41, 359 Wis. 2d597,859 N.W.2d451'

      EIGHTH CAUSE OF ACTION.STRICT LIABILITY MISREPRESENTATION,
                              WISCONSIN

        11   8.   The Plaintiff fully incorporates paragraphs   1- 11   7 as if fully set forth herein.

        1   19.   The Defendant made a representation of fact when the Defendant in attempting to

adveftise, market, and sell the "bulk marketing" services, made an express representation to the

Plaintiff that it could provide "l50 to 200" qualifying "plaintiffs" within Wisconsin, Illinois, and

Iowa per month. Likewise, the Defendant, by and through its agent Mr. Walket, also said to the

Plaintiff that it would easily provide "100+" per month retainers with proper funding.

        I20.      That said representation was untrue, because during the three (3) month life of the

subject contract the Plaintiff only received approximately one hundred forty-six (146) retainers

but only forty-six (46) of these retainers qualified pursuant to the contract.

         I21.     The Defendant, by its employee Mr. Walker, made the representation based on his

personal knowledge, or was so situated that he necessarily ought to have known the untruth of

the statement.




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        122.    The Defendant had an economic interest in receiving several hundred thousands

of dollars by the Plaintiff executing the contract.

        123.    The Plaintiff believed that the representation was true and justifiably relied on it

all to the Plaintiff s damage; and that said damages total approximately one hundred thousand

dollars ($ 1 00,000.00).

            NINTH CAUSE OF ACTION-PUNITIVE DAMAGES, WISCONSIN

        124,    The Plaintiff fully incorporates paragraphs   1-   123 as if   fully   set forth herein.


        125.    The aforementioned acts by the Defend ant are intentional wrongs; and that it has

breached its duty imposed by the contract, and has unreasonably withheld services agreed upon.

        126.      The Defendant acted intentionally and knew, or should have known, that its

actions constituted willful, wanton, and reckless disregard for the rights of the Plaintiff.

        127.      The Plaintiff through its Attorneys, Hupy        &   Abraham, S.C., hereby makes         a


claim for punitive damages due to intentional, willful, and wanton acts of the Defendant.

        TENTH CAUSE OF ACTION.VIOLATION OF OKLAHOMA CONSUMER
                       PROTECTION ACT, ls OKL. ST. $ 761.1

         128.   The Plaintiff fully incorporates paragraphs   l-I27    as   if fully   set forth herein.


         I2g.   That during in attempting to advertise, market, and sell the "bulk marketing"

services, the Defendant, by and through its agent     Mr. Walker, made misleading statements about

its product's quantity and quality. Specifically, the Defendant made an express representation to

the Plaintiff that it could provide "150 to 200" qualifying "plaintiffs" within Wisconsin, Illinois,

and Iowa per month. Likewise, the Defendant, by and through its agent              Mr. Walker, also said to

the Plaintiff that it would easily provide "100+" retainers per month with proper funding.

         130. That the      Defendant made      a misrepresentation that deceived, or could                be


reasonably expected to deceive or mislead the Plaintiff, because during this contract's three (3)




                                         2I
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month term, the Defendant retained on the Plaintiffls behalf approximately one hundred forty-six

(146) "plaintiffs" but the Plaintiff has retained approximately forty-six (46) qualifying

"plaintiffs" despite the Plaintiffls account to have proper funding at all relevant times.

         131.         That the Plaintiff would not have entered into the contract     if the Defendant   had


honestly enumerated the monthly rate of qualifying "plaintiffs" within Wisconsin, Illinois, and

Iowa as it would have been less than the rate represented by Mr. Walker to the Plaintiff.

         132.         That as a result of the Defendant's deceptive trade practice, the Plaintiff suffered

damages for the statutory        limit of ten thousand dollars ($10,000.00).

      ELEVENTH CAUSE OF ACTION-BREACH OF CONTRACTO OKLAHOMA

         133.         The Plaintiff fully incorporates paragraphs I-132 as if fully set forth herein.

         134.         The Plaintiff entered into a contract on February 3,2021 for "bulk marketing"

services with the Defendant; and that said contract stated that the Defendant would screen

potential "plaintiffs" pursuant to the qualifying factors enumerated within the contract.

         135. That the Plaintiff at all times fully performed all of its conditions         and obligations

under the contract.

         136.         That the Defendant materially breached said contract by repeatedly failing to

screen   "plaintiffs" to ensure their qualifications prior to retaining said "plaintiffs" on behalf of

the Plaintiff.

         137.         That the Defendant was repeatedly afforded an opportunity to cure its material

breach of contract by the Plaintiff.

         1   3   8.   As a result of the Defendant's material breach, the Plaintiff incurred damages and

believes that the current amount is approximately one hundred thousand dollars ($100,000.00)'




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      TWELFTH CAUSE OF ACTION-BREACH OF CONTRACT, OKLAHOMA

       I3g.     The Plaintiff fully incorporates paragraphs   1- 13   8 as   if fully   set forth herein.


       140.     The Plaintiff entered into a contract on February 3,2021 for "bulk marketing"

services with the Defendant; and that under said contract the Defendant was required to timely

provide disengagement credits for unqualified "plaintiffs" reported by the Plaintiff.

        l4L     That the Plaintiff at all times fully performed all of its conditions and obligations

under the contract.

        142.    That the Defendant was and still remains in material breach of contract for failure

to timely provide disengagement credits for eleven (11) unqualified "plaintiffs" within the five

(5) to seven (7) days pursuant to the contract.

        143. That the Defendant was afforded          an opportunity to cure its material breach of

contract but has not cured its material breach in total.

        144.    As a result of the Defendant's breach, the Plaintiff incurred damages and believes

that the current amount is approximately one hundred thousand dollars ($100,000.00).

THIRTEENTH CAUSE OF ACTION-BREACH OF IMPLIED DUTY OF GOOD FAITH,
                             OKLAHOMA

        145.    The Plaintiff fully incorporates paragraphs 1-144 as if fully set forth herein.

        146.    Under Oklahoma law, a contract requires that each parly act in good faith towards

the other party and deal fairly with that party when performing the expressed terms of the

contract.

        147.     In this case, the Plaintiff claims the Defendant had an obligation to use good faith

when performing the following contractual term of screening prospective "plaintiffs" prior to

retaining them on behalf of the Plaintiff.




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         148.    As to this term, the Plaintiff claims that the Defendant breached the contract's

good faith obligation by failing to fully screen the prospective "plaintiffs" resulting in numerous

"plaintiffs" having to be disengaged.

          I4g.   That the Defendant's breach resulted in damages to the Plaintiff totaling

approximately one hundred thousand dollars ($1 00,000.00).

       FOURTEENTH CAUSE OF ACTION.BREACH OF IMPLIED DUTY OF GOOD
                              FAITH, OKLAHOMA

          150. The Plaintiff fully incorporates paragraphs 1-149 as if fully set forth herein.
          151. Under Oklahoma law, a contract requires that each party act in good faith towards
the other party and deal fairly with that party when performing the expressed terms of the

contract.

          I52.   In this case, the Plaintiff claims the Defendant had an obligation to use good faith

when performing the following contractual term           of returning funds of timely disengaged

"plaintiffs" pursuant to the qualifying factors in the contract.

          153.   As to this term, the Plaintiff claims that the Defendant breached the contract's

good faith obligation by failing to timely credit charges to the Plaintiff s account when notified

that   a"plaintiff' was not qualifying pursuant to the contract'

          154. That the Defendant's breach         resulted   in   damages   to the Plaintiff   totaling

approximately one hundred thousand dollars ($1 00,000.00).

 FIFTEENTH CAUSE OF ACTION.BREACH OF IMPLIED DUTY OF GOOD FAITH,
                                                OKLAHOMA

          155.   The Plaintiff fully incorporates paragraphs 1-154 as if fully set forth herein.




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        156. Under Oklahoma law, a contract requires that each party act in good faith towards
the other parly and deal fairly with that party when performing the expressed terms of the

contract.

        157   .   In this case, the Plaintiff claims the Defendant had an obligation to use good faith

when performing the following contractual term of returning funds of marketing for, screening,

qualifying, and signing up "plaintiffs" within the life of the contract.

        158. As to this term, the Plaintiff      claims that the Defendant breached the contract's

good faith obligation by failing to provide "plaintiffs" after receiving the Plaintiff s notice to not

renew the contract on    April I,2021.

        159. That the Defendant's breach            resulted   in   damages   to the Plaintiff   totaling

approximately one hundred thousand dollars ($1 00,000'00).

     SIXTEENTH CAUSE OF ACTION-FALSE REPRESENTATION, OKLAHOMA

        160. The Plaintiff fully incorporates paragraphs 1-159 as if fully set forth herein.
        161. The Defendant made a material representation, by and through its agent Mr.
Walker, that it could provide "150 to 200" qualifying "plaintiffs" per month within Wisconsin,

Illinois, and lowa, Likewise, the Defendant, by and through its agent Mr. Walker, also said to the

Plaintiff that it would easily provide'0100+" retainers [per month] with proper funding.

        162.      That said representation was false, because during the three (3) month life of the

subject contract the Plaintiff only received approximately one hundred forty-six (146) retainers

but only forty-six (46) of these retainers qualified pursuant to the contract,

        163. The Defendant knew said representation            was false or made as positive assertion

recklessly, without any knowledge of its truth.




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       164.       The Defendant made the representation with the intention that the Plaintiff enters

into the contract upon the representation of qualifying retainer amounts, all to the Plaintiff        s


damage.

        165.      The Plaintiff believed such representation to be true and relied on it to its damage;

and that said damages total approximately one hundred thousand dollars ($ 100,000.00).

                  SEVENTEENTH CAUSE OF ACTION-FRAUD, OKLAHOMA

        166.      The Plaintiff fully incorporates paragraphs 1-165 as if fully set forth herein.

        167   .   The Defendant made a representation of fact when the Defendant in attempting to

advertise, market, and sell the "bulk marketing" services, made an express representation to the

Plaintiff that it could provide "l50 to 200" qualifying "plaintiffs" within Wisconsin, Illinois, and

Iowa per month, Likewise, the Defendant,by and through its agent Mr. Walker, also said to the

Plaintiff that it would easily provide "100+" per month retainers with proper funding.

        168. That said representation       was untrue, because during the three (3) month life of the

subject contract the Plaintiff only received approximately one hundred forty-six (146) retainers

but only forty-six (46) of these retainers qualified pursuant to the contract.

          169.    The Defendant, by its employee Mr. Walker, made the representation based on his

personal knowledge, or was so situated that he necessarily ought to have known the untruth           of

the statement.

          170.    The Defendant had an economic interest in receiving several hundred thousands

of dollars by the Plaintiff agreeing to Execute the contract.

          171.    The Plaintiff believed that the representation was true and justifiably relied on it

all to the Plaintiffls damage; and that said damages total approximately one hundred thousand

dollars ($ 1 00,000.00).




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      EIGHTEENTH CAUSE OF ACTION-PUNITIVE DAMAGES, OKLAHOMA

       I72.    The Plaintiff fully incorporates paragraphs 1-171 as if fully set forth herein.

       I73.    The aforementioned acts by the Defendarf are intentional wrongs; and that it has

breached its duty imposed by the contract, and has unreasonably withheld services agreed upon.

        174. The      Defendant acted with intentional malice and/or reckless disregard of

another's rights as the Defendant was aware, or did not care, that there was substantial and

unnecessary risk that its conduct would cause serious injury to the Plaintiff.

        175.     The Plaintiff through its Attorneys, Hupy     &   Abraham, S.C., hereby makes a

claim for punitive damages due to the Defendant's intentional malice andlor reckless disregard

ofanother's rights.

                                    REQUEST FOR RELIEF

       WHEREFORE, the Plaintiff requests that judgment be entered in favor of the Plaintiff

and against the Defendant:

        1.     Compensatory damages to be determined at trial but no less than one hundred

thousand dollars ($ 1 00,000.00);

       2.      Punitive damages for the intentional, willful, wanton and/or reckless acts of the

Defendant;

        3.     Rescission    of the contract    due   to the material misrepresentation by       the

Defendant's agent, Mr. Walker;

        3.     Awarding Plaintiff its costs and attorneys' fees; and

        4.     Awarding Plaintiff such other relief as the Court deems just and proper.




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DATED at Milwaukee, Wisconsin, this 5th day of May, 2021.

                                        HUPY AND ABRAHAM, S.C
                                        Attorneys for the Plaintiff,


                                        By:
                                              T     R.
                                              State Bar   Number: 1026950

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